                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

   THEODUS DAVIS, on behalf of himself             )
   and those similarly situated,                   )        Case No. 3:16-cv-674
                                                   )
          Plaintiff,                               )        Judge Travis R. McDonough
                                                   )
   v.                                              )        Magistrate Judge H. Bruce Guyton
                                                   )
   COLONIAL FREIGHT SYSTEMS, INC. et               )
   al.,                                            )
                                                   )
          Defendants.                              )


                                                ORDER



          The parties notified the Court that they had reached a settlement on or before February

   19, 2020. (Doc. 217.) Since then, the parties have filed six status reports requesting additional

   time to file their motion for preliminary settlement approval. (Docs. 218, 219, 220, 221, 222,

   226.) In their most recent status report, the parties represented that they would file the motion on

   or before June 26, 2020. (Doc. 226.) That deadline has passed. The parties are hereby

   ORDERED to file a status report immediately.

          SO ORDERED.

                                                 /s/ Travis R. McDonough
                                                 TRAVIS R. MCDONOUGH
                                                 UNITED STATES DISTRICT JUDGE




Case 3:16-cv-00674-TRM-HBG Document 227 Filed 06/30/20 Page 1 of 1 PageID #: 2919
